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                       EXHIBIT “G”
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----- Forwarded Message -----
From: Patrick Orlando <porlando@benesserecapital.com>
To: Brian C. Shevland <shevland@yahoo.com>
Cc: Eric Swider <es@renatusadvisors.com>
Sent: Wednesday, February 10, 2021, 11:26:34 PM GMT-4
Subject: Re: Moving forward.

We are agreed. Don’t see splits on the Investment Banking efforts but think we discussed that a few times, 80/20 basic
potentially transitioning into joint efforts model, so that should be all set. Language looks the same below as do steps so
those are also agreed.

Patrick




          On Feb 10, 2021, at 10:00 PM, Brian C. Shevland <shevland@yahoo.com> wrote:


          Patrick, not to be a stickler, but does your response mean that you agree with the terms
          of the email below? Please just reply with "I agree to the terms" unless you disagree.


          On Wednesday, February 10, 2021, 10:58:17 PM GMT-4, Eric Swider <es@renatusadvisors.com> wrote:



          Excellent. I am glad we are moving forward and I will take this as a confirmation from both parties that
          the terms are understood and actions will be completed so fingers won’t come back in my direction.




          With Kind Regards;




          <image001.png>




                                                               1
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      Eric Swider

      Partner

      es@renatusadvisors.com

      787.425.9010




   If there is any problem with this communication, please call me immediately at (787)
   425-9010.



   CONFIDENTIALITY NOTE: This electronic transmission contains information belonging
   to the Sender which may be confidential or legally privileged. The information is
   intended only for the use of the individual or entity named above. If you are not the
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   the taking of any action in reliance on the contents of such information is strictly
   prohibited. If you have received this transmission in error, please notify us immediately
   by telephone (787) 425-9010 or return e-mail. Thank you.




   From: Patrick Orlando <porlando@benesserecapital.com>
   Date: Wednesday, February 10, 2021 at 10:55 PM
   To: Eric Swider <es@renatusadvisors.com>
   Cc: "Brian C. Shevland" <shevland@yahoo.com>
   Subject: Re: Moving forward.



   Looks right,




           On Feb 10, 2021, at 9:49 PM, Eric Swider <es@renatusadvisors.com> wrote:

           Hey Guys Looking forward to moving on.




           Since I introduced the two of you please do me a favor and respond to this email;

                                                       2
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         Brian is going to send Sub agreement tonight, Brian is going to send wire
         tomorrow. Patrick is immediately going to work on director position. Brian is going to
         immediately begin the compliance procedure for Patrick’s onboarding. All parties agree
         that the email from Brian, below, is an accurate representation of the terms we are
         moving forward on?




         Please respond yes or no that this is correct.




         With Kind Regards;




         <image001.png>




            Eric Swider

            Partner

            es@renatusadvisors.com

            787.425.9010




         If there is any problem with this communication, please call me
         immediately at (787) 425-9010.



         CONFIDENTIALITY NOTE: This electronic transmission contains
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         From: Patrick Orlando <porlando@benesserecapital.com>
         Date: Wednesday, February 10, 2021 at 10:23 PM
         To: "Brian C. Shevland" <shevland@yahoo.com>
         Cc: Eric Swider <es@renatusadvisors.com>
         Subject: Re: Moving forward.



         Looks good.




         Patrick




                   On Feb 10, 2021, at 8:34 PM, Brian C. Shevland
                   <shevland@yahoo.com> wrote:

                   Patrick,

                   I appreciated our call and I am very ready to move on and
                   put this behind us to focus on the future. I want to make sure
                   that my understanding of the call we had today is
                   memorialized and agreed upon to avoid any confusion by
                   either party. If we agree to everything we discussed on the
                   call, I will sign the subscription document tonight, wire the
                   money tomorrow, and we will start building something
                   spectacular together immediately.



                   For the purposes of this agreement to move forward, my
                   understanding is as follows:



                   1) I am sending you $500,000 for the sole intended purpose
                   of acquiring 250,000 shares of BENE.



                   2) Over the next few weeks, you are investing your own
                   personal capital in other SPACs and if those SPACs
                   successfully IPO prior to March 31st, 2021, and you obtain a
                                                     4
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              price/share less than or equal to $2.00/share, I will be able to
              maintain the 250,000 shares of BENE.



              3) However, if the other SPAC investments you invest into
              are not able to IPO, you have the right to send me back an
              amount of capital up to $200,000 prior to March 31st, 2021,
              and my shares in BENE would be reduced pro rata. The
              capital that remains at BENE would still purchase as many
              shares as possible at a cost of $2/share.



              4) Patrick and Brian will have the opportunity but not the
              obligation to invest up to equal amounts in all current and
              future SPAC opportunities, whether internal or external, at
              the same terms (same price/share). In the event that Brian
              and his network are able to raise more sponsor capital in
              order to reduce the price per share, both Brian and Patrick
              will share equally in the price/share reduction, the shares will
              not be bifurcated. This right does not extend to BENE since
              those terms are outlined in the subscription agreement but
              would apply to all other SPAC opportunities.



              5) You will process whatever paperwork is necessary to add
              me as a Director to BENE as soon as possible, so that I am
              officially added both to the legal structure and to the website
              no later than February 16th. This is important based upon
              meetings I have already arranged for February 17th. I will
              immediately begin working with Eric to streamline various
              processes, evaluate opportunities, and provide additional
              leads and relationships to our team.



              6) I will onboard your licenses with my B/D asap, under the
              terms we discussed, and I will cover all of the standard fees
              of joining the firm on your behalf. The intention would be for
              you to build and manage an Investment Banking operation.



              Please review at your earliest convenience. If you agree that
              these are the terms we have agreed to, please confirm in an
              email and I will sign and send the subscription documents
              and prepare the wire first thing tomorrow morning.


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              Sincerely,

              Brian




              On Tuesday, February 9, 2021, 11:44:41 PM GMT-4, Patrick Orlando
              <porlando@benesserecapital.com> wrote:




              Brian,




              1. I think this language should work for the subscription agreement:




                        The undersigned further acknowledges and approves that, prior to March
              31, 2021, the Company may reduce the total investment value in the Company by
              up to 40% and return to undersigned the respective pro-rata portion of this
              investment in cash or alternatively, with approval of the undersigned, exchange
              for an allocation to the undersigned of an indirect ownership interest in shares of
              Class B common stock of another SPAC at the same effective share price.

              2. Most other sponsor investors signed pre-IPO so their language said
              they should fund upon Company capital call.

              3. I am being shown a couple allocations in Sponsor shares and am
              confident I will close allocation prior to March 31.




              Best Regards,

              Patrick Orlando - Founder and CEO



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              by the intended recipient. If you are not the intended recipient, you must not
              disclose or use the information in this email in any way. If you received it in error,
              please advise us immediately by return email and delete the document.




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              On Tue, Feb 9, 2021 at 1:48 PM Patrick Orlando
              <porlando@benesserecapital.com> wrote:

               Brian,




               Just getting to emails now. A couple observations:




                   1. Arc Global Investments LLC is the Sponsor of Benessere
                      Capital, not the same company as Arc Group Limited which is
                      the boutique investment banking guys
                   2. I'll look at the language now and revert.




               Best Regards,

               Patrick Orlando - Founder and CEO



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               only by the intended recipient. If you are not the intended recipient, you must
               not disclose or use the information in this email in any way. If you received it in
               error, please advise us immediately by return email and delete the document.




               On Tue, Feb 9, 2021 at 7:53 AM Brian C. Shevland
               <shevland@yahoo.com> wrote:

                Patrick,

                The language that was incorporated in the original doc you
                sent over would give ARC a free call option using my
                capital. Clearly that isn't going to work, I have no
                relationship with them and they have not even been on our
                calls to hear what we have agreed upon. This has been
                edited to specifically outline exactly what we discussed on
                our most recent calls and I highlighted the language that
                has been edited for ease of review. The entire section
                highlighted could probably also simply be deleted because
                I believe we could always mutually agree upon a different
                arrangement in writing.




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                    My only other question is whether other sponsor shares
                    investors all signed the exact same document or if other
                    modifications have been made which I should review.
                    Assuming all sponsor share investors signed this same
                    document and the edited language is acceptable let's get
                    this signed today and I will start the wire transfer process.



                    Sincerely,

                    Brian




                    On Monday, February 8, 2021, 01:11:30 PM GMT-4, Patrick Orlando
                    <porlando@benesserecapital.com> wrote:




                    Subscription agreement.




                    Best Regards,

                    Patrick Orlando - Founder and CEO



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                    only by the intended recipient. If you are not the intended recipient, you must
                    not disclose or use the information in this email in any way. If you received it in
                    error, please advise us immediately by return email and delete the document.

   <image001.png>




                                                           8
